


  OPINION OF THE COURT
 

  On review of submissions pursuant to section 500.4 of the Rules of the Court of Appeals (22 NYCRR 500.4), order affirmed, with costs, for the reasons stated in the memorandum of the Appellate Division (112 AD2d 687). We add only that unlike
  
   Matter of 12 Cornelia St. (Ross)
  
  (56 NY2d 895), the evidence here indicates the employer was able to exercise control over the activities of its salespersons beyond the requirements of applicable governmental regulation.
 

  Concur: Chief Judge Wachtler and Judges Meyer, Simons, Kaye, Alexander, Titone and Hancock, Jr.
 
